Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 1 of 20 Page ID #:1320




  1   Steven M. Goldberg, SBN 82174          Jay P. Srinivasan, SBN 181471
      sgoldberg@mzclaw.com                   jsrinivasan@gibsondunn.com
  2   MARKUN ZUSMAN FRENIERE                 Blaine H. Evanson, SBN 254338
  3
      COMPTON LLP                            bevanson@gibsondunn.com
      3 Hutton Centre Dr., 9th Floor         Minae Yu, SBN 268814
  4   Santa Ana, CA 92707                    myu@gibsondunn.com
      Telephone: (310) 454-5900              Jonathan N. Soleimani, SBN 295673
  5   Facsimile: (310) 454-5970              jsoleimani@gibsondunn.com
  6                                          GIBSON, DUNN & CRUTCHER LLP
      Evan R. Chesler (pro hac vice)         333 South Grand Avenue
  7
      echesler@cravath.com                   Los Angeles, CA 90071-3197
      J. Wesley Earnhardt (pro hac vice)     Telephone: (213) 229-7000
  8   wearnhardt@cravath.com                 Facsimile: (213) 229-7520
      CRAVATH, SWAINE & MOORE LLP
  9   825 Eighth Avenue                      Orin S. Snyder (pro hac vice)
 10
      New York, NY 10019                     osnyder@gibsondunn.com
      Telephone: (212) 474-1000              GIBSON, DUNN & CRUTCHER LLP
 11   Facsimile: (212) 474-3700              200 Park Avenue
                                             New York, NY 10166
 12   Robert N. Klieger, SBN 192962          Telephone: (212) 351-2400
      rklieger@hueston.com                   Facsimile: (212) 351-6335
 13   HUESTON HENNIGAN LLP
      523 West 6th St., Suite 400            Attorneys for Defendant
 14
      Los Angeles, CA 90014                  MGM DOMESTIC TELEVISION
 15   Telephone: (213) 788-4340              DISTRIBUTION LLC
      Facsimile: (888) 775-0898
 16
      Attorneys for Plaintiff
 17   STARZ ENTERTAINMENT, LLC
 18
                       UNITED STATES DISTRICT COURT
 19               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                               Western Division
 20

 21    STARZ ENTERTAINMENT, LLC,              No. 2:20-CV-04085 DMG (KSx)
 22               Plaintiff,                  STIPULATION AND ORDER RE
 23                                           DOCUMENT PRODUCTION
       v.                                     PROTOCOL
 24
       MGM DOMESTIC TELEVISION
 25    DISTRIBUTION LLC,
 26
                  Defendant.
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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 2 of 20 Page ID #:1321




  1                              I.    PURPOSE AND SCOPE
  2         Plaintiff Starz Entertainment, LLC, and Defendant MGM Domestic Television
  3   Distribution LLC hereby agree that the following Stipulation and [Proposed] Order
  4   (the “Protocol”) shall govern the production of Documents by the Parties during the
  5   pendency of this litigation.
  6         This Protocol supplements the Federal Rules of Civil Procedure, the Local
  7   Rules of the Central District of California, this Court’s Standing Order on Discovery
  8   Disputes, and any other applicable caselaw, orders or rules. Nothing in this Protocol
  9   is intended to alter or affect any Party’s rights or obligations, but shall be construed,
 10   wherever possible, as consistent with the relevant authority governing discovery. In
 11   addition, nothing in this Protocol establishes any agreement as to either the temporal
 12   or subject-matter scope of discovery in this case, or the specific procedures or criteria
 13   to be employed to define or limit the scope of search, review and production, such as
 14   the identification of relevant custodians and search parameters, which are to be
 15   separately agreed upon.
 16         By stipulating to this Protocol, the Parties do not concede that any particular
 17   information sought or received or custodians identified under this Protocol are
 18   relevant or proportionate to the needs of this case. The Protocol shall not be construed
 19   by any party as an admission that any particular discovery is relevant or proportional,
 20   nor shall the Protocol be construed to waive any objection by any Party to the
 21   discoverability and/or admissibility of any information or Documents.
 22                                   II.    DEFINITIONS
 23         1.     “Confidentiality Designation” means the legend affixed to Documents
 24   as defined by, and subject to, the terms of the Protective Order entered in this case.
 25         2.     “Documents” shall have the meaning and scope ascribed to it under the
 26   Federal Rule of Civil Procedure 34(a)(1)(A), specifically including ESI and Hard-
 27   Copy Documents.
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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 3 of 20 Page ID #:1322




  1           3.       “Electronically Stored Information” or “ESI” means Documents
  2   stored in electronic format.
  3           4.       “Extracted Text” means text extracted from ESI that allows the ESI to
  4   be electronically searched.
  5           5.       “Hard-Copy Document” means any Document existing in paper
  6   format at the time of collection.
  7           6.       “Hash Value” means the unique numerical identifier that can be
  8   assigned to a file, a group of files, or a portion of a file, based on a standard
  9   mathematical algorithm applied to the characteristics of the text contained within the
 10   file or files.
 11           7.       “Load Files” means an electronic file used to import production
 12   information into a Document review platform, including, if available, information
 13   indicating Document breaks, information related to embedded content, and
 14   information about Document relationships such as those between an email and its
 15   attachments.
 16           8.       “Metadata” means structured data about ESI that is automatically
 17   generated by the operation of a computer file system or an application and embedded
 18   in the ESI.
 19           9.       “Native Format” or “Native File” means and refers to the format or file
 20   that the ESI was originally created, generated, and/or as used in the normal course of
 21   business.
 22           10.      “OCR Text” refers to text generated using the OCR process.
 23           11.      “Optical Character Recognition” or “OCR” means the process of
 24   recognizing and converting text in scanned Documents and/or images into searchable
 25   text.
 26           12.      “Producing Party” means the Party upon whom a request for the
 27   production of Documents is served.
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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 4 of 20 Page ID #:1323




  1         13.    “Requesting Party” means the Party that serves a request for the
  2   production of Documents.
  3         14.    “Tagged Image File Format” or “TIFF” means and refers to the
  4   CCITT Group IV graphic file format for storing bit-mapped images of ESI or Hard-
  5   Copy Documents.
  6                                   III.   PRESERVATION
  7         1.     The Parties have discussed their preservation obligations and needs and
  8   agree that preservation of potentially relevant Documents will be reasonable and
  9   proportionate.
 10         2.     Any sources of data that are not reasonably accessible because of undue
 11   burden or cost pursuant to Federal Rule of Civil Procedure 26(b)(2)(B), need not be
 12   preserved, collected, processed, reviewed, and/or produced provided that if the
 13   Producing Party identifies a responsive source that it does not intend to search
 14   because the source is not reasonably accessible because of undue burden or cost, or
 15   for any other reason, the Producing Party shall timely disclose that intention and set
 16   forth the justification for not searching that responsive source. The Parties shall
 17   timely meet and confer regarding any disputes regarding these sources, and submit
 18   any unresolved disputes to the Court for resolution.
 19                             IV.     SEARCH AND REVIEW
 20         The Parties agree that collection, search and review of potentially responsive
 21   Documents shall be reasonable, proportionate and in good faith. After the entry of
 22   this Order, the Parties shall meet and confer about methodologies for collection,
 23   search and review of potentially discoverable Documents and to filter out Documents
 24   that are not subject to discovery.
 25         1.     Custodial Documents. The Parties shall meet and confer on a reasonable
 26   list of custodians for purposes of search, review, and production of Documents. In
 27   connection with the meet-and-confer process, each Party shall provide a proposed list
 28   of individual custodians likely to have discoverable information. The Parties shall

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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 5 of 20 Page ID #:1324




  1   then meet and confer on each Parties’ custodians.        If the Parties cannot reach
  2   agreement, the matter may be submitted to the Court for resolution in accordance
  3   with the procedures set forth in the Local Rules and Magistrate Judge Stevenson’s
  4   standing order. Once the list of custodians have been agreed to by the Parties or
  5   resolved by the Court, each Party shall collect Documents, including electronic files
  6   and emails, for each individual custodian from reasonably accessible sources where
  7   discoverable information is likely to be found. The inclusion of a particular custodian
  8   on the list of custodians shall not be construed as an admission by any Party that the
  9   custodian is in fact in possession, custody or control of any discoverable information
 10   or that any information within the custodian’s possession, custody or control is
 11   discoverable and/or admissible.
 12         2.     Non-Custodial Documents. In addition to custodial documents, each
 13   Party shall conduct a reasonable search for non-custodial Documents responsive to
 14   requests seeking corporate Documents that are not likely to be in the possession,
 15   custody or control of an individual custodian.        Such documents may include
 16   information maintained in shared database such as corporate ERP system, Documents
 17   stored in corporate or departmental record centers and general corporate Documents.
 18         3.     Search Terms. The Parties may use search terms and other limiters (i.e.,
 19   date ranges) to cull the volume of Documents to be reviewed for responsiveness. A
 20   Party who intends to use search terms and/or limiters shall disclose the search terms
 21   and/or limiters it proposes using and the sources to which the search terms and/or
 22   limiters will be applied. The Parties shall then meet and confer on the search terms
 23   and/or limiters. If the Parties cannot reach agreement, the matter may be submitted
 24   to the Court for resolution in accordance with the procedures set forth in the Local
 25   Rules and Magistrate Judge Stevenson’s standing order.
 26         4.     Technology Assisted Review. The Parties may use technology assisted
 27   review (TAR) or other advanced technology-based analytics in addition to, or in lieu
 28   of, search terms to cull the volume of Documents to be reviewed for responsiveness.

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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 6 of 20 Page ID #:1325




  1   A Party who intends to use TAR shall disclose the parameters that will apply to the
  2   use of TAR. The Parties shall then meet and confer on the TAR parameters. If the
  3   Parties cannot reach agreement, the matter may be submitted to the Court for
  4   resolution in accordance with the procedures set forth in the Local Rules and
  5   Magistrate Judge Stevenson’s standing order.
  6            5.     Modifications to Search and Review Methodology. Notwithstanding
  7   prior agreement on search methodologies, the Parties may request to add, remove, or
  8   modify the custodians, data sources, search terms and other culling methods as fact
  9   discovery progresses. Such requests must be made in good faith, for good cause and
 10   in a timely fashion, and such request shall not be unreasonably denied. Any disputes
 11   over modifications to search and review methodology that cannot be resolved
 12   between the Parties may be submitted to the Court for resolution in accordance with
 13   the procedures set forth in the Local Rules and Magistrate Judge Stevenson’s standing
 14   order.
 15                          V.    PROCESSING SPECIFICATIONS
 16            The Parties shall, to the extent reasonably and technically possible, process ESI
 17   and Hard-Copy Documents for production according to the specifications set forth in
 18   this Section.
 19   A.       Electronically Stored Information
 20            1.     De-Duplication. A Producing Party may remove Documents identified
 21   as duplicative based on MD5 or SHA-1 hash values of the full text of the Documents
 22   at the family level across custodians and sources. A Producing Party may use other
 23   reasonable methods to remove duplicate Documents from production provided that
 24   method is disclosed to the Requesting Party. The Producing Party shall produce a
 25   Metadata field for all produced Documents for which duplicate Documents were
 26   removed listing the custodians or sources that possessed a duplicate Document that
 27   was removed.       If additional Documents are de-duplicated after production, the
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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 7 of 20 Page ID #:1326




  1   Producing Party shall produce an overlay no later than fourteen days after the
  2   substantial completion date.
  3         2.     Email Threading.      The Parties are permitted to use commercially
  4   available email threading tools to remove emails and their attachments where the
  5   contents of the email and its attachments are wholly included within another email
  6   and its attachments that are not removed. Upon good cause, a party may request
  7   additional information regarding the tool used for email threading.
  8         3.     De-NISTing. Non-user generated files may be removed from review
  9   and production using the list of non-user generated files maintained by the National
 10   Institute of Standards and Technology (NIST). Additional culling of system files
 11   based on file extension may include: WINNT, LOGS, DRVS, C++ Program File (c),
 12   C++ Builder 6 (cpp), Channel Definition Format (cdf), Creatures Object Sources
 13   (cos), Dictionary file (dic), Executable (exe), Hypertext Cascading Style Sheet (css),
 14   JavaScript Source Code (js), Label Pro Data File (IPD), Office Data File (NICK),
 15   Office Profile Settings (ops), Outlook Rules Wizard File (rwz), Scrap Object, System
 16   File (dll), temporary files (tmp), Windows Error Dump (dmp), Windows Media
 17   Player Skin Package (wmz), Windows NT/2000 Event View Log file (evt), Python
 18   Script files (.py, .pyc, .pud, .pyw), Program Installers.
 19         4.     Embedded Objects. Non-image files that are embedded in other files
 20   (“Embedded Objects”) shall be extracted as separate files and treated as attachments
 21   to the parent Document. The Parties shall meet and confer over any dispute with
 22   regard to the treatment of Embedded Objects.
 23         5.     Extracted Text. Text must be extracted directly from the Native File of
 24   ESI unless the Document requires redaction, is an image file, or is any other native
 25   electronic file that does not contain text to extract (e.g., non-searchable PDFs), in
 26   which case Searchable Text should be created using OCR. Documents with redacted
 27   content shall be run through an OCR process to capture only the visible text in lieu
 28   of the original extracted text from the Native File. Extracted text shall include all

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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 8 of 20 Page ID #:1327




  1   comments, revisions, tracked changes, speaker’s notes and text from Documents with
  2   comments or tracked changes, and hidden worksheets, slides, columns and rows to
  3   the extent possible. Extracted text from emails shall include all header information
  4   that would be visible if the email was viewed natively including, to the extent
  5   possible: (1) the individuals to whom the communication was directed, (2) the author
  6   of the email communication, (3) who was copied and blind copied on such email, (4)
  7   the subject line of the email, (5) the date and time of the email, and (6) the names of
  8   any attachments.
  9         6.     Exception Files. The Parties shall use reasonable efforts to address
 10   Documents that present processing or production problems (e.g., encrypted and/or
 11   protected files) (“Exception Files”). Exception Files that are attached to produced
 12   Documents will be produced as a Bates-stamped placeholder TIFF indicating that the
 13   Document was unable to be processed. The Parties agree to meet and confer
 14   regarding the resolution of Exception Files, if relevant. Upon good cause, a party
 15   may request additional information about Exception Files, including passwords that
 16   may be located through a reasonable inquiry. If the Parties cannot reach agreement
 17   on the handling of Exception Files through the meet and confer process, the matter
 18   may be submitted to the Court for resolution in accordance with the procedures set
 19   forth in the Local Rules and Magistrate Judge Stevenson’s standing order.
 20   B.    Hard-Copy Documents
 21         1.     General. The Producing Party may elect to (a) allow the inspection and
 22   copying of responsive, nonprivileged Hard-Copy Documents by the Requesting Party
 23   at a time and location agreed to by the Parties; or (b) provide responsive, non-
 24   privileged Hard-Copy Documents in an electronic form. If the Producing Party elects
 25   to produce Hard-Copy Documents in an electronic form, the Hard-Copy Documents
 26   shall be scanned or otherwise converted into electronic form as they are kept in the
 27   ordinary course of business. For Hard-Copy Documents found in folders or other
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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 9 of 20 Page ID #:1328




  1   containers with labels, tabs, or other identifying information, such labels and tabs
  2   shall be scanned where reasonably practicable.
  3         2.     Unitization. In scanning Hard-Copy Documents, the Parties shall make
  4   reasonable efforts to avoid merging distinct Hard-Copy Documents into a single
  5   record, and splitting a single Hard-Copy Document into multiple records. Original
  6   Document orientation (i.e., portrait v. landscape) should be maintained where
  7   reasonably practicable.
  8         3.     OCR Text. OCR Text of scanned paper Documents shall be produced
  9   by the Producing Party to the extent it exists. Any documents produced without OCR
 10   Text shall be identified as such and segregated from documents for which OCR Text
 11   was produced.
 12                             VI.   PRODUCTION FORMAT
 13         1.     General. Except as otherwise provided herein, the Parties shall produce
 14   Documents as Imaged Documents. Spreadsheets (e.g., Excel files), PowerPoint
 15   Presentations, photo, audio, and video files shall be produced in Native Format,
 16   except as otherwise provided herein. A Requesting Party may request the production
 17   of other Documents in Native Format where the production of the Native File is
 18   reasonably necessary to the Document’s comprehension or use, and such request shall
 19   not unreasonably be denied. If the Parties cannot reach agreement, the matter may
 20   be submitted to the Court for resolution in accordance with the procedures set forth
 21   in the Local Rules and Magistrate Judge Stevenson’s standing order.
 22         2.     Imaged Documents. All Imaged Documents produced by the Parties
 23   shall be single page Group IV TIFF format with 300 dpi quality or better and on 8½
 24   x 11-inch page size, except for Documents requiring a different resolution or page
 25   size. All Documents that contain comments, deletions and revision marks (including
 26   the identity of the person making the deletion or revision and the date and time
 27   thereof), speaker notes, or other user-entered data that the source application can
 28   display to the user will be processed such that all that data is visible in the image.

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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 10 of 20 Page ID #:1329




   1   Each Imaged Document shall be branded in the lower right-hand corner of each page
   2   with its corresponding Bates number, and in the lower left-hand corner with any
   3   applicable Confidentiality Designation, provided that the Bates number and the
   4   Confidentiality Designation may be placed elsewhere to avoid obscuring the
   5   underlying image. Images may be reduced only to the extent necessary to allow space
   6   for Bates number and Confidentiality Designation. Each Imaged Document shall
   7   have a unique file name, which shall be the corresponding Bates numbered images.
   8         3.     Native Files.    Documents produced in Native Format need not be
   9   imaged. Instead, a placeholder Imaged Document bearing the legend “Document
  10   Provided in Native Format” shall also be produced in the same way as any other
  11   Imaged Document, with proper Bates stamping and any applicable Confidentiality
  12   Designation. Native Files shall have a file name that includes the Bates number. Any
  13   Party printing the Native File for use in this matter shall append and use the
  14   placeholder Imaged Document as a cover sheet to the Native File at all times. The
  15   Producing Party may to object to the native production of any files where such
  16   production would result in the disclosure of information that is protected from
  17   disclosure by the attorney-client privilege, work product doctrine or any other
  18   protection from disclosure and it is impossible to redact or otherwise produce the
  19   Native File while maintaining such privilege or protection. The Parties shall meet
  20   and confer with respect to the form of production for audio and video files in
  21   nonstandard formats, or any files included in this sub-paragraph for which a claim of
  22   privilege or protection exists.
  23         4.     Load Files. Productions shall include image load files in Opticon or
  24   IPRO format and Concordance format data (.dat) files with Metadata listed in
  25   Appendix A to the extent reasonably available. All Metadata shall be produced in
  26   UTF-16LE or UTF-8 with Byte Order Mark format.
  27         5.     Text Files. A single text file containing the Extracted Text or OCR Text
  28   shall be provided for each Document to the extent available. The text file name shall

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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 11 of 20 Page ID #:1330




   1   be the same as the Bates number of the first page of the Document with the Document
   2   extension “.txt” suffixed.    File names shall not have any special characters or
   3   embedded spaces. Text files shall be provided in UTF-8 with Byte Order Mark
   4   format text.
   5         6.       Databases, Structured, Aggregated or Application Data. For requests in
   6   which responsive information is contained in a database or other structured or
   7   aggregated data source or otherwise maintained by an application, the Parties shall
   8   meet and confer to determine an appropriate format. If the Parties cannot reach
   9   agreement, the matter may be submitted to the Court for resolution in accordance
  10   with the procedures set forth in the Local Rules and Magistrate Judge Stevenson’s
  11   standing order.
  12         7.       Redactions. Privileged and/or otherwise protected information may be
  13   redacted. No redactions for relevance may be made within a produced Document or
  14   ESI item. Any such redactions shall be clearly marked on the Document (e.g.,
  15   “privileged” or “work product”). Redacted Documents shall be identified as such in
  16   the Metadata.
  17         8.       Color. All Imaged Documents may be produced in black & white,
  18   except that the Requesting Party may request that certain Imaged Documents be
  19   produced in color where color is reasonably necessary to their comprehension or use,
  20   and such request shall not unreasonably be denied. Imaged Documents produced in
  21   color shall be produced as single-page, 300 DPI JPG images with JPG compression
  22   and a high quality setting as to not degrade the original image.
  23         9.       Parent-Child Relationships. Parent-child relationships (the association
  24   between an attachment and its parent Document or between embedded Documents
  25   and their parent) shall be preserved through the production of an appropriate
  26   Metadata field as listed in Appendix A.
  27         10.      Family Groups. A Document and all other Documents in its attachment
  28   range constitute a Family Group. If any member of a Family Group is determined to

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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 12 of 20 Page ID #:1331




   1   be responsive to a Party’s document, the entirety of the Family Group must be
   2   produced without selective redactions to individual portions or attachments, except
   3   as required to preserve a privilege or work product assertion. To the extent any
   4   Document within a Family Group is privileged, that Document may be redacted in
   5   full or in part, but no Family Group shall be withheld on the basis of privilege unless
   6   the entire Family Group is privileged and/or otherwise protected.
   7         11.    Re-productions.       Notwithstanding any provisions to the contrary,
   8   Documents that the Producing Party reproduces in whole or in part from the
   9   production files of a historical litigation, arbitration, government inquiry, or other
  10   matter may be produced in the same manner and form as originally produced in the
  11   historical matter.
  12         12.    Production Media. The Producing Party shall use appropriate electronic
  13   media (CD, DVD, secure FTP or other secure file transfer utility, hard drive or other
  14   mutually agreeable media) for its production, and shall use high-capacity media to
  15   minimize associated overhead. The Producing Party shall label any physical media
  16   with the Producing Party, media volume name, and Document number range.
  17               VII. DOCUMENTS PROTECTED FROM DISCOVERY
  18         Pursuant to Federal Rule of Procedure 26(b)(5), the parties agree that a
  19   Producing Party may redact or, to the extent necessary, withhold from disclosure any
  20   Document that is protected by attorney-client privilege, the work-product doctrine,
  21   protection accorded to trial preparation materials, settlement privilege or any other
  22   reasonably applicable privilege.
  23   A.     Privilege Log
  24         The Producing Party shall provide the Requesting Party with a log of
  25   Documents withheld on grounds of privilege or other protection from disclosure as
  26   follows (“Privilege Log”):
  27         1.     The Privilege Log shall contain information sufficient to enable the
  28   Requesting Party to evaluate the claims made, including the following information:

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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 13 of 20 Page ID #:1332




   1   Custodian, From, To, CC, BCC, Date, Basis for Withholding (e.g., Attorney-Client
   2   Communication), and Document Description. In-house attorney names shall be
   3   designated with an asterisk; outside counsel attorney names will be designated with
   4   a double asterisk and any other individuals, including those working at the direction
   5   of an attorney, will be designated with a triple asterisk.
   6         2.     A single Document containing multiple email messages (i.e., in an email
   7   chain) may be logged as a single entry. A Document family (e.g., email and
   8   attachments) may be logged as a single entry so long as the log entry accurately
   9   describes both the email and its attachment(s).
  10         3.     A party is not required to log redacted Documents but agrees to respond
  11   to reasonable requests for additional information regarding the basis for redactions
  12   on specific Documents where the basis is unclear from the Document itself.
  13         4.     The parties shall exchange privilege logs no later than 30 days following
  14   substantial completion of document discovery, and supplement that privilege log as
  15   necessary thereafter.
  16         5.     The following Documents exempted (“Exempted Documents”) from
  17   discovery do not need to be logged on the Privilege Log:
  18                a.     Communications between the Parties and their counsel of record;
  19                b.     Communications (i) between or among outside and in-house
  20   counsel working directly on this litigation for Starz and (ii) between or among outside
  21   and in-house counsel working directly on this litigation for MGM;
  22                c.     Consistent with Rule 26(b)(4), communications between counsel
  23   for the Parties and experts, both testifying and non-testifying, and drafts of expert
  24   reports, unless the expert relies on such communications pursuant to Rule
  25   26(b)(4)(C)(ii) or (iii); and
  26                d.     Privileged documents—including communications with counsel,
  27   documents created under the direction of counsel and counsel’s work product—after
  28   January 8, 2020.

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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 14 of 20 Page ID #:1333




   1   B.    Inadvertent Disclosure
   2         Pursuant to Federal Rule of Evidence 502(d), the production of a privileged or
   3   work-product-protected Document, whether inadvertent or otherwise, is not a waiver
   4   of privilege or protection from discovery in this case or in any other federal or state
   5   proceeding. The Rule 502(d) Order filed in this case shall govern the procedures for
   6   claw back of inadvertently disclosed Documents.
   7                     VIII. THIRD-PARTY DOCUMENTS AND ESI
   8         1.       A Party that issues a subpoena upon any third party (“Issuing Party”)
   9   shall include a copy of the protective order entered in this litigation with the
  10   subpoena.
  11         2.       The Issuing Party shall request that third parties produce the same
  12   documents to all Parties simultaneously. In the event that the third party fails to do
  13   so (as indicated by, among other means, failing to address both Parties in its
  14   production cover letter), the Issuing Party shall produce a copy to the other Party of
  15   any Documents obtained pursuant to the subpoena in the same form and format as
  16   produced by that third party within fourteen (14) calendar days of receipt from the
  17   third party.
  18         3.       If a third-party production is not Bates-stamped, the Issuing Party shall
  19   stamp the non-Party production with unique Bates prefixes and numbering scheme
  20   prior to reproducing them to all other Parties.
  21                                 IX.    MODIFICATIONS
  22         1.       Any practice or procedure set forth herein may be varied by agreement
  23   of the Parties, which shall be confirmed in writing.
  24         2.       The Parties shall meet and confer to resolve any dispute regarding the
  25   application of this Protocol before seeking Court intervention.
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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 15 of 20 Page ID #:1334




   1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
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   3   DATED:    July 28, 2021     By:    /s/ J. Wesley Earnhardt
                                          Evan R. Chesler (pro hac vice)
   4                                      echesler@cravath.com
                                          J. Wesley Earnhardt (pro hac vice)
   5
                                          wearnhardt@cravath.com
   6                                      CRAVATH, SWAINE & MOORE LLP
                                          825 Eighth Avenue
   7                                      New York, NY 10019
                                          Telephone: (212) 474-1000
   8                                      Facsimile: (212) 474-3700
   9
                                          Steven M. Goldberg, SBN 82174
  10                                      sgoldberg@mzclaw.com
                                          MARKUN ZUSMAN FRENIERE COMPTON LLP
  11                                      3 Hutton Centre Dr., 9th Floor
                                          Santa Ana, CA 92707
  12                                      Telephone: (310) 454-5900
  13                                      Facsimile: (310) 454-5970

  14                                      Robert N. Klieger, SBN 192962
                                          rklieger@hueston.com
  15                                      HUESTON HENNIGAN LLP
                                          523 West 6th St., Suite 400
  16                                      Los Angeles, CA 90014
  17                                      Telephone: (213) 788-4340
                                          Facsimile: (888) 775-0898
  18
                                          Attorneys for Plaintiff
  19                                      STARZ ENTERTAINMENT, LLC
  20   DATED:    July 28, 2021     By:   /s/ Jay P. Srinivasan
  21                                       Jay P. Srinivasan, SBN 181471
                                           jsrinivasan@gibsondunn.com
  22                                       Blaine H. Evanson, SBN 254338
                                           bevanson@gibsondunn.com
  23                                       Minae Yu, SBN 268814
                                           myu@gibsondunn.com
  24
                                           Jonathan N. Soleimani, SBN 295673
  25                                       jsoleimani@gibsondunn.com
                                           GIBSON, DUNN & CRUTCHER LLP
  26                                       333 South Grand Avenue
                                           Los Angeles, CA 90071-3197
  27                                       Telephone: (213) 229-7000
                                           Facsimile: (213) 229-7520
  28

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Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 16 of 20 Page ID #:1335
Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 17 of 20 Page ID #:1336
Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 18 of 20 Page ID #:1337
Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 19 of 20 Page ID #:1338
Case 2:20-cv-04085-DMG-KS Document 80 Filed 08/11/21 Page 20 of 20 Page ID #:1339
